  Case 3:99-cr-30022-DRH       Document 538 Filed 04/26/05        Page 1 of 3    Page ID
                                         #209



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

vs.

BARRY DABNEY,
#044719-025,

Defendant.                                                   No. 99-CR-30022-DRH-6

                                         ORDER

Herndon, District Judge:

             Now before the Court is pro se Defendant Barry Dabney’s “MOTION TO

MODIFY SENTENCE PURSUANT TO TITLE 18 U.S.C. § 3582(c)(2). and Amendment

‘487 and Amendment ’ 591 . . . . . . . . . . . . . .’” (Doc. 537). Dabney argues the Court’s

sentence violates United States v. Booker,         — U.S. —, 125 S.Ct. 738 (2005),

because he received an enhanced sentence without admitting to the underlying facts or

having a jury make the determination beyond a reasonable doubt.

             Briefly, by way of background, on September 2, 1999 Dabney pled guilty

to Counts 1 and 4 of the Superceding Indictment alleging conspiracy to distribute

cocaine and cocaine base in violation of 21 U.S.C. § 846 (Count 1) and possession with

intent to distribute cocaine base in violation of 21 U.S.C. § 841(a)(1) (Count 4). On

January 28, 2000, the Court conducted a sentencing hearing and sentenced Dabney to

210 months, 5 years supervised release, and ordered him to pay a special assessment

of $200 and a fine of $2000 (Doc. 213). On January 31, 2000, the Court entered


                                             1
  Case 3:99-cr-30022-DRH           Document 538 Filed 04/26/05              Page 2 of 3      Page ID
                                             #210



Judgment (Doc. 217). Dabney filed a notice of appeal on February 7, 2000 (Doc. 228),

and moved to dismiss the appeal. The United States Court of Appeals for the Seventh

Circuit granted the motion and issued its mandate dismissing the appeal on March 8,

2000 (Doc. 252). On March 7, 2001, Dabney filed a 28 U.S.C. § 2255 petition arguing,

among other things, his sentenced violated Apprendi v. New Jersey, 530 U.S. 466

(2000) (Dabney v. United States, 01-CV-141-DRH, Doc. 1). In a written opinion dated

January 10, 2002, the Court dismissed Dabney’s § 2255 petition (Dabney v. United

States, 01-CV-141-DRH, Doc. 11, Mem. & Order dated Jan. 10, 2002).

               Now Dabney has asked this Court to modify his sentence pursuant to 18

U.S.C. § 3582(c)(2). Ordinarily once a district court enters final judgment it lacks

jurisdiction to continue to hear related issues, except to the extent authorized by statute

or rule. See Carlisle v. United States, 517 U.S. 416 (1996). Section 3582(c)(2)1

is one exception to this general rule, but is simply inapplicable here. What Dabney may

be trying to do by this motion is collaterally attack his sentence pursuant to 28 U.S.C.

§ 2255 or 28 U.S.C. § 2241.

                While ordinarily the Court would give Dabney the opportunity to

 withdraw or amend his motion, see Melton v. United States, 359 F.3d 855, 857

 (7th Cir. 2004), in this case it would be to little avail. First, with regard to a § 2255

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         Section 3582(c) provides “in the case of a defendant who has been sentenced to a term of
 imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing
 Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the Director of the
 Bureau of Prisons, or on its own motion, the court may reduce the term of imprisonment, after
 considering the factors set forth in section 3553(a) to the extent that they are applicable, if such a
 reduction is consistent with applicable policy statements issued by the Sentencing Commission.”
 18 U.S.C. § 3582(c)(2).



                                                   2
Case 3:99-cr-30022-DRH            Document 538 Filed 04/26/05               Page 3 of 3       Page ID
                                            #211



petition, this would be Dabney’s second petition and thus he would need to seek

certification from the Seventh Circuit before filing in this Court.2 Second, and most

importantly, Booker does not apply retroactively to criminal cases like Dabney’s that

became final before Booker’s release on January 12, 2005. See McReynolds v.

United States of America, 397 F.3d 479, 481 (7th Cir. 2005).

                Accordingly, the Court DENIES Dabney’s Motion to Modify Sentence for

lack of jurisdiction (Doc. 537).

                IT IS SO ORDERED.

                Signed this 26th day of April, 2005.

                                                               /s/    David RHerndon
                                                        United States District Judge




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        “A second or successive motion must be certified by a panel of the appropriate court of
appeals to contain – . . . (2) a new rule of constitutional law, made retroactive to cases on collateral
review by the Supreme Court, that was previously made unavailable.” 28 U.S.C. § 2255.

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